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1              Plaintiffs Masimo Corporation and Cercacor Laboratories, Inc. (collectively,
2    “Masimo”) provides this Amended Witness List.
3              Masimo reserves the right to amend its list of witnesses as the parties continue
4    pre-trial preparation and in view of events at trial or other developments, including
5    evidentiary rulings or other rulings by the Court. Masimo also reserves the right not to
6    call any particular witness (either live or by deposition) set forth in the list below, or to
7    present by deposition a witness listed as live below. For witnesses identified as
8    testifying by deposition, Masimo reserves the right to call such witness to testify live if
9    such witness is made available to do so. The identification of a witness on this list is not
10   an admission that the witness’s testimony is admissible if called by Defendant Apple
11   Inc. (“Apple”). Masimo also reserves its right to object to any witness or testimony that
12   is objectionable or inadmissible. The parties have previously provided the address,
13   telephone number and/or contact information for each witness.
14         Masimo identifies the following Masimo witnesses and Masimo experts that it
                                                         DATE TESTIFIED
15   intends to call live.
16             1.    David Dalke                               November 6, 2024
17             2.    Mohamed Diab                              November 5, 2024
18             3.    Gerry Hammarth                            November 6, 2024
19             4.    Joe Kiani                                 November 5, 2024
20             5.    Jeffrey Kinrich                           November 7, 2024
21             6.    Vijay Madisetti                           November 6 & 7, 2024
22             7.    Tracy Miller                              November 6, 2024
23             8.    Bilal Muhsin                              November 6, 2024
24             9.    Jeroen Poeze                              November 5 & 6, 2024
25             10.   Stephen Scruggs                            November 6, 2024
26             Masimo identifies the following Masimo witnesses it may call only if the need
27   arises.
28             1.    Ammar Al-Ali
                                                  -1-
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                                                           DATE TESTIFIED

1          2.     Kristin Budreau
2          3.     Rick Fishel
3          4.     Greg Olsen
4          5.     James Pishney
5          6.     Richard Priddell
6          7.     Anand Sampath
7          8.     Robert Smith
8          9.     Phil Weber
9          10.    Walt Weber
10         11.    Crystal Wei
11         12.    Micah Young
12         Masimo identifies the following third-party witnesses it intends to call live, and
13   reserves the right to present each witness by deposition if the witness does not appear
14   pursuant to Masimo’s trial subpoena.
15         1.     Steve Hotelling
16         2.     Marcelo Lamego                           November 7, 2024
17         Masimo identifies the following Apple witnesses that Masimo intends to examine
18   live during Apple’s case-in-chief, with the understanding that Masimo may keep its
19   case-in-chief open and will have a full opportunity to question the below witnesses about
20   all topics when Apple calls the witness, without regard to the scope of the initial direct
21   examination. Masimo reserves the right to call the below witnesses live or by deposition,
22   including issuing trial subpoenas if Apple declines to call such witness live or refuses to
23   agree that Masimo may examine the witnesses outside the scope of direct.
24         1.     Ueyn Block
25         2.     Diedre Caldbeck
26         3.     Brian Land
27         4.     Adrian Perica
28         5.     Steve Waydo
                                                -2-
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1          6.     Michael O’Reilly
2          Masimo further identifies the following Apple or third-party witnesses that
3    Masimo may call by deposition only in lieu of live testimony. Masimo reserves the right
4    to call these witnesses live if the parties do not agree to waive the unavailability
5    requirements of Rule 32.
6          1.     Louis Bokma
7          2.     Aditya Dua
8          3.     Jack Fu
9          4.     Chinsan Han
10         5.     Michael Jaynes
11         6.     Eric Jue
12         7.     Alex Kanaris
13         8.     Eugene Kim
14         9.     Robert Mansfield
15         10.    Saahil Mehra
16         11.    Afshad Mistri
17         12.    Divya Nag
18         13.    Denby Sellers
19         14.    Tao Shui
20         15.    David Tom
21         16.    Vivek Venugopal
22         17.    Jeff Williams
23         18.    Dong Zheng
24         Masimo further reserves the right to amend its list pending the parties’ pre-trial
25   discussions and Apple’s final witness list. In addition to the witnesses identified above,
26   Masimo reserves the right to call anyone appearing on Apple’s Witness List.
27   ///
28   ///
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                                    UNITED STATES DISTRICT COURT
           17
                          CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
           18
           19       MASIMO CORPORATION,                       CASE NO. 8:20-cv-00048-JVS (JDEx)
                    a Delaware corporation; and
           20       CERCACOR LABORATORIES, INC.,              APPLE’S AMENDED RETRIAL
                    a Delaware corporation,                   WITNESS LIST
           21
                                       Plaintiffs,
                                                              Pre-Trial Conference: Oct. 28, 2024
           22
                          v.                                  Trial: Nov. 5, 2024
           23
                    APPLE INC.,
           24       a California corporation,
           25                          Defendant.
           26
           27
           28
                                                                   APPLE’S AMENDED RETRIAL WITNESS LIST
Wilmer Cutler
                                                                        CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE      Document 2391 Filed 12/02/24         Page 6 of 7 Page ID
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             1            Pursuant to Local Rule 16-5, Apple sets forth below its list of anticipated
             2      witnesses. Apple includes in this witness list individuals who may be listed on
             3      Plaintiffs’ witness list without waiving any right to object to Plaintiffs’ presentation of
             4      such witnesses at trial, without waiving any objections to the admissibility of such
             5      testimony, and without waiving the right to move for the exclusion of any testimony.
             6      Apple reserves the right to modify, supplement, or amend its witness list in response to
             7      Plaintiffs’ witness list, or any other circumstances that may occur between now and the
             8      conclusion of trial, to the extent permitted by the Federal Rules of Civil Procedure, the
             9      Local Rules, or other Order of this Court. Apple further reserves the right to call live
           10       or by deposition at trial any witness identified on Plaintiffs’ witness list.
           11             At this time, Apple identifies the following witnesses for trial.
           12       I.    WILL / MAY CALL LIVE 1                          DATE TESTIFIED
           13                1. Ueyn Block                                   November 12, 2024
           14                2. Deidre Caldbeck
           15                3. Steven Hotelling                              November 8, 2024
           16                4. Brian Land                                    November 12, 2024
           17                5. Trevor Ness                                   November 8, 2024
           18                6. Michael O’Reilly 2
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                                                                         APPLE’S AMENDED RETRIALWITNESS LIST
Wilmer Cutler
                                                                 1           CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE    Document 2391 Filed 12/02/24 Page 7 of 7 Page ID
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             1              7. Adrian Perica                          November 8, 2024
             2              8. Peter Russell-Clarke                   November 7, 2024
             3              9. Majid Sarrafzadeh                      November 12, 2024
             4              10. Steven Warren                         November 13, 2024
             5              11. Stephen Waydo                         November 8, 2024
             6              12. Shirley Webster                       November 12, 2024
             7              13. Marcelo Lamego
             8
                    II.   MAY CALL BY DEPOSITION OR PRIOR TRIAL TESTIMONY
             9
                            1. Yassir Abdul-Hafiz
           10
                            2. Ammar Al-Ali
           11
                            3. David Dalke
           12
                            4. Mohamed Diab
           13
                            5. Gerry Hammarth
           14
                            6. Alex Kanaris
           15
                            7. Joseph Kiani
           16
                            8. Peter Koo
           17
                            9. Marcelo Lamego
           18
                            10. Tracy Miller
           19
                            11. Bilal Muhsin
           20
                            12. Gregory Olsen
           21
                            13. Jeroen Poeze
           22
                            14. Steven Scruggs
           23
                            15. Robert Smith      - via video deposition November 13, 2024
           24
                            16. Phil Weber
           25
                            17. Walter Weber
           26
                            18. Micah Young
           27               19. Timothy Cook      - via video deposition November 8, 2024
           28
                                                                    APPLE’S AMENDED RETRIALWITNESS LIST
Wilmer Cutler
                                                             2          CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
